                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
FEDERICO COLON,

                          Plaintiff,
      v.                                           Case No. 18-cv-135-pp

FOREST COUNTY POTAWATOMI COMMUNITY,

                        Defendant.
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             NOTICE OF RULE 16 SCHEDULING CONFERENCE
______________________________________________________________________________

      The court has scheduled a Rule 16 scheduling conference in the above
case for September 27, 2018 at 2:15 PM. The parties may appear by
telephone by calling the court’s conference line at 888-557-8511 and using
access code 4893665#. The court requires counsel with primary settlement
responsibility and authority to appear and be prepared to address any pending
motions.

      Fed. R. Civ. P. 26(f) requires that, as soon as practicable, the parties
must meet to discuss the nature and basis of their claims and defenses, the
possibilities for prompt settlement, the timing for the initial disclosures
required by Rule26(a)(1), and a proposed discovery plan.

        On or before September 20, 2018, the parties shall file a joint, written
report outlining their discovery plan. The plaintiff’s counsel is responsible for
filing the report, and for providing a copy to opposing counsel. If the parties
are not able to agree on the terms of a joint report, they may file separate
reports.

      In addition to the discovery plan, the report shall include the following:

      1.      A brief statement of the nature of the case;

      2.      Whether the parties expect to amend the pleadings;

      3.      Whether the parties anticipate joining other parties;

      4.      The nature of the discovery each party contemplates, and the
              amount of time the parties believe they need to complete that
              discovery;
                                         1

           Case 2:18-cv-00135-PP Filed 07/31/18 Page 1 of 2 Document 17
      5.      Any motions the parties contemplate;

      6.      The estimated length of trial;

      7.      Whether any party is requesting a jury trial;

      8.      A statement of any other issues that might impact trial scheduling;
              and

      9.      A statement attesting to the fact that the parties have discussed
              each of the above issues.

      If a party's counsel is not prepared to discuss these issues in a
meaningful way at the scheduling conference, the court may adjourn the
hearing until that counsel is prepared.

      If the parties are interested in proceeding to mediation before the date of
the Rule 16 conference, they should contact the court immediately to make
arrangements.

       If any attorney or unrepresented party has a conflict with the date and
time of the Rule 16 conference and wishes to reschedule, that person must
promptly call chambers, with all other counsel or unrepresented parties on the
line, to request a new date and time.

      Dated in Milwaukee, Wisconsin this 31st day of July, 2018.
                                 BY THE COURT


                                 _____________________________________________
                                 HON. PAMELA PEPPER
                                 United States District Court




                                          2

           Case 2:18-cv-00135-PP Filed 07/31/18 Page 2 of 2 Document 17
